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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA et al.,          )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                                         ORDER

           The court hereby sets forth below its rulings with respect to the parties’ disputed redactions

of their post-trial submissions. The court has organized this Order to correspond to the manner in

which the disputes were presented by the United States and Google. 1 See (Sealed) ECF Nos. 874-

1 & 878-1 (summarizing disputes). The rulings are informed by the legal principles set forth in its

oral ruling on April 24, 2024, see Order, ECF No. 892, and reflect the court’s individualized

balancing of the Hubbard factors during that hearing. The DOJ Plaintiffs and Google shall amend

their submissions consistent with the court’s rulings and publicly docket them by April 30, 2024.



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    Plaintiff States’ post-trial submissions have no outstanding confidentiality disputes.
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I.       Google’s Post-Trial Brief

     Page and          Requesting
                                                               Ruling
       Line            Redaction
                                        Unredact. Although this information relates to a
                                        third party, disclosure would result in no discernable
       32:10            Third Party
                                        competitive disadvantage and would shed light on the
                                        alleged barriers to entry in a proposed market.
                                        Unredact. Although this information relates to a
                        Third Party     third party, disclosure would result in no discernable
       32:14
                                        competitive disadvantage and would shed light on the
                                        alleged barriers to entry in a proposed market.
                                        Unredact. Although this information relates to a
                        Third Party     third party, disclosure would further the public’s
       38:10
                                        understanding of this case, as this information is
                                        central to the Plaintiffs’ theory.
                                        Unredact. Although this information relates to a
                        Third Party     third party, disclosure would further the public’s
     58:12-17
                                        understanding of this case, as this information is
                                        central to the Plaintiffs’ theory.
                        Third Party     Unredact. Although this information relates to a
                                        third party, disclosure would further the public’s
       60:4-6
                                        understanding of this case, as this information is
                                        central to the Plaintiffs’ theory.
                                        Unredact. This information was disclosed by a third
                        Third Party     party to the Department of Justice as part of its
     62:24-63:3
                                        investigation without, to the court’s knowledge, any
                                        assurance of confidentiality.
                                        Unredact. Although this information relates to a
                        Third Party     third party, disclosure would further the public’s
     77:22-25
                                        understanding of this case, as this information is
                                        central to the Plaintiffs’ theory.
                                        Keep Redacted. The redacted number combines
                                        Google and Microsoft data in such a way that
                     Google and Third
       107:5                            disclosure would result in exposing each party’s
                          Party
                                        figure to the other, which could cause competitive
                                        harm.




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II.      Google’s Proposed Conclusions of Law

                       Requesting
      Paragraph                                                  Ruling
                       Redaction
                                         Unredact. Although this information relates to a
                                         third party, disclosure would further the public’s
         65            Third Party
                                         understanding of this case, as this information is
                                         central to the Plaintiffs’ theory.

III.     Google’s Proposed Findings of Fact

                       Requesting
      Paragraph                                                  Ruling
                       Redaction
                                         Keep Redacted. This is product information that
                                         describes nonpublic aspects of Google’s search
         135             Google
                                         technology and whose release could result in clear
                                         competitive disadvantage.
                                         Keep Redacted. This nonpublic information details
                                         the costs of Google’s investments and expenses.
         222             Google          Revealing these precise amounts would reveal
                                         information that competitors could use to their
                                         advantage and Google’s disadvantage.
                                         Keep Redacted. This information is a data point
                                         created by Google that, if disclosed to competitors,
         240             Google          could result in harm to Google’s commercial
                                         interests. It is specifically and adequately justified by
                                         the declarant.
                                         Keep Redacted. This is product information that
                                         describes nonpublic aspects of Google’s search
         314             Google
                                         technology and whose release could result in clear
                                         competitive disadvantage
                                         Keep Redacted. This is product information that
                                         describes nonpublic aspects of Google’s search
         315             Google
                                         technology and whose release could result in clear
                                         competitive disadvantage
                                         Keep Redacted. This is product information that
                                         describes nonpublic aspects of Google’s search
         316             Google
                                         technology and whose release could result in clear
                                         competitive disadvantage
                                         Keep Redacted. This is product information that
                                         describes nonpublic aspects of Google’s search
         318             Google
                                         technology and whose release could result in clear
                                         competitive disadvantage
                                         Keep Redacted. This is product information that
         319             Google
                                         describes nonpublic aspects of Google’s search




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                               technology and whose release could result in clear
                               competitive disadvantage
                               Keep Redacted. This is product information that
                               describes nonpublic aspects of Google’s search
   320           Google
                               technology and whose release could result in clear
                               competitive disadvantage
                               Unredact. This number pertains to market share, and
                               although objected to by a third party, is sufficiently
   429          Third Party
                               core to the case to outweigh those interests, which are
                               comparatively weak.
                               Unredact. This estimate of the relative size of
                               Microsoft and Google’s engineering teams is central
   460          Third Party    to Google’s defense, and does not reveal the actual
                               size of Microsoft’s team. It is also a dated figure
                               from 2018.
                               Keep Redacted. This nonpublic information details
                               Microsoft’s expenditures. Revealing these precise
465 (fig.)      Third Party    amounts would reveal information that competitors
                               could use to their advantage and Microsoft’s
                               disadvantage.
                               Keep Redacted. This third-party internal projection
   473          Third Party    of its ability to compete is very sensitive and, if
                               disclosed, could harm partnerships.
                               Keep only the Dollar Amount Redacted. This
                               nonpublic information details the costs of Microsoft’s
                               investments and expenses. Revealing these precise
   491          Third Party
                               amounts would reveal information that competitors
                               could use to their advantage and Microsoft’s
                               disadvantage.
                               Unredact. These figures are from a Mozilla
                               experiment that Google relies heavily on in its filings.
   509          Third Party    The experiment bears on a foundational issue in this
                               case, which is how users behaved when the default
                               search engine was switched from Google to Bing.
                               Unredact. These figures are from a Mozilla
                               experiment that Google relies heavily on in its filings.
   510          Third Party    The experiment bears on a foundational issue in this
                               case, which is how users behaved when the default
                               search engine was switched from Google to Bing.
                               Unredact. A third party’s perspective of the relative
                               quality of two search engines is not so sensitive as to
   514          Third Party
                               warrant these redactions, especially when such
                               perspectives were shared in open court at trial.
                               Unredact. This information was disclosed by a third
   519          Third Party
                               party to the Department of Justice as part of its



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                            investigation without, to the court’s knowledge, any
                            assurance of confidentiality.
                            Unredact. This information was disclosed by a third
                            party to the Department of Justice as part of its
520          Third Party
                            investigation without, to the court’s knowledge, any
                            assurance of confidentiality.
                            Unredact. This information was disclosed by a third
                            party to the Department of Justice as part of its
521          Third Party
                            investigation without, to the court’s knowledge, any
                            assurance of confidentiality.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
528          Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
529          Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
530          Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
531          Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
532          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
534          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Unredact. Although this information relates to a
                            third party, disclosure would result in no discernable
542          Third Party
                            competitive disadvantage and would shed light on the
                            alleged barriers to entry in a proposed market.
                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
549          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Unredact. Although this information relates to a
                            third party, disclosure would result in no discernable
550          Third Party
                            competitive disadvantage and would shed light on the
                            alleged barriers to entry in a proposed market.


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                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
551          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Unredact. Although this information relates to a
                            third party, disclosure would result in no discernable
552          Third Party
                            competitive disadvantage and would shed light on the
                            alleged barriers to entry in a proposed market.
                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
561          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Keep Redacted. There is no dispute as to this
570           Google
                            redaction, and the court agrees that it is justified.
                            Unredact. This information pertains to a potential
                            deal that was never realized, and thus is not likely to
575          Third Party
                            result in commercial disadvantage to these third
                            parties.
                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
580          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Keep Redacted. This information could result in
                            significant commercial disadvantage to a third party
581          Third Party
                            if released, and its probative value and relevance is
                            outweighed by this risk of prejudice.
                            Keep Redacted. This information reflects the
                            internal notes of a third party and its impressions of
596          Third Party    another third party, has minimal relevance, and could
                            result in competitive disadvantage and prejudice, if
                            disclosed.
                            Keep Redacted. This information reflects the
                            internal notes of a third party and its impressions of
597          Third Party    another third party and has minimal relevance, but
                            could result in competitive disadvantage and
                            prejudice.
                            Unredact. This information is dated and there is no
598          Third Party    discernable competitive disadvantage that would
                            result from disclosure.
                            Keep Redacted. This concerns internal data about
                            the traffic of a third-party advertiser that is not
672          Third Party
                            sufficiently central to this case to warrant disclosing
                            sensitive third party information.
                            Unredact. These figures are from a Mozilla
787          Third Party    experiment that Google relies heavily on in its filings.
                            The experiment bears on a foundational issue in this


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                                case, which is how users behaved when the default
                                search engine was switched from Google to Bing.
                                Unredact. This information is dated and there is no
    858          Third Party    discernable competitive disadvantage that would
                                result from disclosure.
                                Unredact. Although this information relates to a
                                third party, disclosure would result in no discernable
    955          Third Party
                                competitive disadvantage and would shed light on the
                                alleged barriers to entry in a proposed market.
                                Unredact. Although this information relates to a
                                third party, disclosure would result in no discernable
    966          Third Party
                                competitive disadvantage and would shed light on the
                                alleged barriers to entry in a proposed market.
                                Keep Redacted. This information contains internal
   1045          Third Party    third-party strategy that, if disclosed, could result in
                                competitive harm to this third party.
                                Unredact. Although this information relates to a
                                third party, disclosure would result in no discernable
   1059          Third Party
                                competitive disadvantage and would shed light on the
                                alleged barriers to entry in a proposed market.
                                Keep Redacted. This information contains internal
   1062          Third Party    third-party strategy that if disclosed, could result in
                                competitive harm to this third party.
                                Keep Redacted. This information contains internal
   1126          Third Party    third-party strategy that if disclosed, could result in
                                competitive harm to this third party.
                                Keep Redacted. This information contains internal
   1129          Third Party    third-party financial information that if disclosed,
                                could result in competitive harm to this third party.
                                Keep Redacted. This information reflects details
1135 (fig. y                    about the mechanics of Google’s ad auctions that, if
                  Google
   axis)                        disclosed, could be leveraged by competitors to
                                Google’s detriment.
                                Keep Redacted. This information reflects details
                                about the mechanics of Google’s SERP that, if
   1216           Google
                                disclosed, could be leveraged by competitors to
                                Google’s detriment.
                                Unredact. This information goes to the core of the
   1257          Third Party    case, it is dated, and the revenue share figure therein
                                is already public.
                                Unredact. This information goes to the core of the
   1258          Third Party    case, it is dated, and the revenue share figure therein
                                is already public.
                                Unredact. This information goes to the core of the
   1259          Third Party    case, it is dated, and the revenue share figure therein
                                is already public.


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                             Unredact. This information goes to the core of the
1264         Third Party     case, it is dated, and the revenue share figure therein
                             is already public.
                             Unredact. The disclosure of agreement termination
          Google and Third
1265                         dates, although nonpublic, would not result in
               Party
                             sufficient competitive harm if disclosed.
                             Unredact. The disclosure of agreement termination
          Google and Third
1272                         dates, although nonpublic, would not result in
               Party
                             sufficient competitive harm if disclosed.
                             Unredact. The disclosure of agreement termination
          Google and Third
1273                         dates, although nonpublic, would not result in
               Party
                             sufficient competitive harm if disclosed.
                             Unredact. The disclosure of agreement termination
1282         Third Party     dates, although nonpublic, would not result in
                             sufficient competitive harm if disclosed.
                             Unredact. These contractual provisions are at the
1289         Third Party     heart of this case, and the actual provisions have been
                             released.
                             Keep Redacted. This information reflects a code
1298         Third Party     word whose release could cause this third-party
                             competitive harm.
                             Keep Redacted. This information reflects a code
1299         Third Party     word whose release could cause this third-party
                             competitive harm.
                             Unredact. This information goes to the core of the
1302         Third Party     case and is relayed at a sufficiently high level to
                             mitigate the privacy and property interests.
                             Unredact. This information goes to the core of the
1311         Third Party     case and is relayed at a sufficiently high level to
                             mitigate the privacy and property interests.
                             Unredact. This information goes to the core of the
1313         Third Party     case and is relayed at a sufficiently high level to
                             mitigate the privacy and property interests.
                             Unredact. Microsoft CEO Nadella already testified
1315         Third Party
                             to this information at a high level at trial.
                             Unredact. This information has been disclosed
1316         Third Party     elsewhere and is presented at a sufficiently high level
                             to mitigate the privacy and property interests.
                             Keep Redacted. This information contains internal
1321         Third Party     third-party strategy that, if disclosed, could result in
                             competitive harm to this third party.
                             Unredact. Although this information relates to a
                             third party, disclosure would further the public’s
1322         Third Party
                             understanding of this case, as this information is
                             central to the Plaintiffs’ theory.



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                            Unredact. This information has been disclosed
1324         Third Party    elsewhere and is presented at a sufficiently high level
                            to mitigate the privacy and property interests.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
1326         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
1327         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
1328         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. This information has been disclosed
1329         Third Party    elsewhere and is presented at a sufficiently high level
                            to mitigate the privacy and property interests.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
1330         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
1331         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. This information reflects Apple’s
                            evaluations of Google and Bing. Although sensitive
1336         Third Party
                            third-party information, it was largely the subject of
                            testimony by Nadella and Apple witness Eddy Cue.
                            Keep Redacted. This information contains internal
1342         Third Party    third-party product information that, if disclosed,
                            could result in competitive harm to this third party.
                            Unredact. Although this information relates to a
1343         Third Party    third party, disclosure would result in no discernable
                            competitive disadvantage.
                            Unredact. This information goes to the core of the
1363         Third Party
                            case and it is dated.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
1372         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. These figures are from a Mozilla
1374         Third Party    experiment that Google relies heavily on in its filings.
                            The experiment bears on a foundational issue in this



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                            case, which is how users behaved when the default
                            search engine was switched from Google to Yahoo.
                            Unredact. These figures are from a Mozilla
                            experiment that Google relies heavily on in its filings.
1379         Third Party    The experiment bears on a foundational issue in this
                            case, which is how users behaved when the default
                            search engine was switched from Google to Bing.
                            Unredact. This information was disclosed by a third
                            party to the Department of Justice as part of its
1383         Third Party
                            investigation without, to the court’s knowledge, any
                            assurance of confidentiality.
                            Unredact. These figures are from a Mozilla
                            experiment that Google relies heavily on in its filings.
1399         Third Party    The experiment bears on a foundational issue in this
                            case, which is how users behaved when the default
                            search engine was switched from Google to Bing.
                            Unredact. This information has been disclosed
1406         Third Party    elsewhere and is presented at a sufficiently high level
                            to mitigate the privacy and property interests.
                            Unredact. This information has been disclosed
1413         Third Party    elsewhere and is presented at a sufficiently high level
                            to mitigate the privacy and property interests.
                            Keep Redacted. There is no dispute as to this
1427           Google
                            redaction, and the court agrees that it is justified.
                            Keep Redacted. There is no dispute as to this
1428           Google
                            redaction, and the court agrees that it is justified.
                            Keep Redacted. There is no dispute as to this
1429           Google
                            redaction, and the court agrees that it is justified.
                            Keep Redacted. There is no dispute as to this
1430           Google
                            redaction, and the court agrees that it is justified.
                            Unredact. These figures are from a Mozilla
                            experiment that Google relies heavily on in its filings.
1458         Third Party    The experiment bears on a foundational issue in this
                            case, which is how users behaved when the default
                            search engine was switched from Google to Yahoo.
                            Unredact. These figures are from a Mozilla
                            experiment that Google relies heavily on in its filings.
1459         Third Party    The experiment bears on a foundational issue in this
                            case, which is how users behaved when the default
                            search engine was switched from Google to Bing.
                            Unredact. This information was disclosed by a third
                            party to the Department of Justice as part of its
1463         Third Party
                            investigation without, to the court’s knowledge, any
                            assurance of confidentiality.
                            Unredact the Google-only Redactions (red boxes).
1480           Google
                            This figure relates to market foreclosure and its


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                              aggregated nature minimizes the likelihood of harm
                              from disclosure. As to the other redactions, the
                              parties do not dispute them, and the court agrees they
                              are justified.
                              Keep Redacted. This is a current revenue share
                              figure that has not otherwise been disclosed. It could
           Google and Third
1485                          cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Keep Redacted. This is a current revenue share
                              figure that has not otherwise been disclosed. It could
           Google and Third
1488                          cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Keep Redacted. This is a current revenue share
                              figure that has not otherwise been disclosed. It could
           Google and Third
1489                          cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Keep Redacted. This is a current revenue share
                              figure that has not otherwise been disclosed. It could
           Google and Third
1490                          cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Unredact everything but the revenue share. The
                              terms relate to the S-Browser and would aid the
           Google and Third
1493                          public’s understanding of how the agreement was
                Party
                              implemented. The revenue share figure should be
                              redacted.
                              Unredact everything but the revenue share. The
                              terms relate to the S-Browser and would aid the
           Google and Third
1494                          public’s understanding of how the agreement was
                Party
                              implemented. The revenue share figure should be
                              redacted.
                              Keep Redacted. This is a current revenue share
                              figure that has not otherwise been disclosed. It could
           Google and Third
1495                          cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Unredact everything but the revenue share. The
                              terms relate to the S-Browser and would aid the
           Google and Third
1499                          public’s understanding of how the agreement was
                Party
                              implemented. The revenue share figure should be
                              redacted.
           Google and Third   Keep Redacted. This is a current revenue share
1500
                Party         figure that has not otherwise been disclosed. It could


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                              cause harm to Google or Google’s partners by
                              providing a nonpublic benchmark for future
                              negotiations.
                              Unredact everything but the bounty figure. This is
                              a currently payment figure that has not otherwise
           Google and Third
1505                          been disclosed. It could cause harm to Google or
                Party
                              Google’s partners by providing a nonpublic
                              benchmark for future negotiations.
                              Keep Redacted only the bounty figure. This is a
                              currently payment figure that has not otherwise been
           Google and Third
1506                          disclosed. It could cause harm to Google or Google’s
                Party
                              partners by providing a nonpublic benchmark for
                              future negotiations.
                              Keep Redacted. This nonpublic information details
                              the costs of Google’s investments and expenses.
1567           Google         Revealing these precise amounts would reveal
                              information that competitors could use to their
                              advantage and Google’s disadvantage.
                              Keep Redacted. This nonpublic information details
                              the costs of Google’s investments and expenses.
                              Revealing these precise amounts would reveal
1573           Google         information that competitors could use to their
                              advantage and Google’s disadvantage. This
                              paragraph also contains a current revenue share
                              percentage.
                              Keep Redacted. These are current revenue share
                              figures that have not otherwise been disclosed. They
           Google and Third
1578                          could cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Keep Redacted. These are current revenue share
                              figures that have not otherwise been disclosed. They
           Google and Third
1580                          could cause harm to Google or Google’s partners by
                Party
                              providing a nonpublic benchmark for future
                              negotiations.
                              Unredact. This information has been disclosed
1582         Third Party      elsewhere and is presented at a sufficiently high level
                              to mitigate the privacy and property interests.
                              Keep Redacted. Google’s internal revenue
                              composition, including revenue derived from
1592           Google         particular search access points, may be used by
                              competitors to gain a nonpublic advantage regarding
                              their prioritization of particular search access points
                              Unredact. This is a high-level description of how a
1596           Google         third-party browser works. It is not sensitive,
                              particularly not to Google, and should be disclosed.


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                              Keep Redacted. Google’s internal revenue
                              composition, including revenue derived from
1635           Google         particular search access points, may be used by
                              competitors to gain a nonpublic advantage regarding
                              their prioritization of particular search access points
                              Unredact. This information has been disclosed
           Google and Third
1638                          elsewhere and is presented at a sufficiently high level
                Party
                              to mitigate the privacy and property interests.
                              Unredact. This information has been disclosed
           Google and Third
1640                          elsewhere and is presented at a sufficiently high level
                Party
                              to mitigate the privacy and property interests.
                              Unredact. This information has been disclosed
1643           Google         elsewhere and is presented at a sufficiently high level
                              to mitigate the privacy and property interests.
                              Unredact. This information has been disclosed
           Google and Third
1644                          elsewhere and is presented at a sufficiently high level
                Party
                              to mitigate the privacy and property interests.
                              Unredact. This information has been disclosed
1647         Third Party      elsewhere and is presented at a sufficiently high level
                              to mitigate the privacy and property interests.
                              Unredact. This information has been disclosed
1648           Google         elsewhere and is presented at a sufficiently high level
                              to mitigate the privacy and property interests.
                              Keep Redacted. There is no dispute as to this
1654           Google
                              redaction, and the court agrees that it is justified.
                              Unredact. This is a description of a contract no
           Google and Third   longer in effect. It sheds light on the nature of
1656
                Party         negotiations and contributes to public understanding
                              of the contracts central to this case.
           Google and Third   Unredact. This contract provision is the heart of the
1658
                Party         case and has been disclosed elsewhere.
           Google and Third   Unredact. This contract provision is the heart of the
1659
                Party         case and has been disclosed elsewhere.
                              Keep Redacted. This information pertains to
           Google and Third   activities outside of the geographic limitation on the
1691
                Party         proposed market and would reveal post-regulatory
                              action strategies, which have ongoing relevance.
                              Keep Redacted. This is third-party sensitive
                              information regarding nonpublic partnerships with
1741         Third Party      other third parties, which, if disclosed, could harm
                              these nonparties’ competitive standing and
                              commercial interests.
                              Keep Redacted subsections (1)(e), (f), and (g), and
                              (3)(b). This is third-party sensitive information
1754         Third Party
                              regarding nonpublic partnerships with other third
                              parties, which, if disclosed, could harm these


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                            nonparties’ competitive standing and commercial
                            interests.
                            Keep Redacted. This is third-party sensitive
                            information regarding potential future partnerships
1762         Third Party
                            with other third parties, which, if disclosed, could
                            harm these nonparties’ negotiating power.
                            Keep Redacted. This is third-party sensitive
                            information regarding existing partnerships with
1866         Third Party
                            other third parties, which, if disclosed, could harm
                            these nonparties’ negotiating power.
                            Unredact. Although this information relates to a
1896         Third Party    third party, disclosure would result in no discernable
                            competitive disadvantage.
                            Unredact. This information reflects Microsoft’s
                            estimate of its lost revenue as a result of lack of
1897         Third Party    feature parity in SA360. This goes to the core of the
                            Plaintiff States’ case and merely reflects estimates,
                            not actual losses.
                            Unredact. This information reflects Microsoft’s
                            estimate of its lost revenue as a result of lack of
1899         Third Party    feature parity in SA360. This goes to the core of the
                            Plaintiff States’ case and merely reflects estimates,
                            not actual losses.
                            Unredact. This information reflects Microsoft’s
                            estimate of its lost revenue as a result of lack of
1900         Third Party    feature parity in SA360. This goes to the core of the
                            Plaintiff States’ case and merely reflects estimates,
                            not actual losses.
                            Unredact. This information reflects Microsoft’s
                            estimate of its lost revenue as a result of lack of
1901         Third Party    feature parity in SA360. This goes to the core of the
                            Plaintiff States’ case and merely reflects estimates,
                            not actual losses.
                            Unredact. This information reflects Microsoft’s
                            estimate of its lost revenue as a result of lack of
1902         Third Party    feature parity in SA360. This goes to the core of the
                            Plaintiff States’ case and merely reflects estimates,
                            not actual losses.
                            Unredact. This information reflects Microsoft’s
                            estimate of its lost revenue as a result of lack of
1904         Third Party    feature parity in SA360. This goes to the core of the
                            Plaintiff States’ case and merely reflects estimates,
                            not actual losses.
                            Unredact. This information reflects Microsoft’s
1905         Third Party    estimate of its lost revenue as a result of lack of
                            feature parity in SA360. This goes to the core of the


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                                       Plaintiff States’ case and merely reflects estimates,
                                       not actual losses.
                                       Unredact. This information reflects Microsoft’s
                                       estimate of its lost revenue as a result of lack of
       1906           Third Party      feature parity in SA360. This goes to the core of the
                                       Plaintiff States’ case and merely reflects estimates,
                                       not actual losses.
                                       Unredact. This information reflects Microsoft’s
                                       estimate of its lost revenue as a result of lack of
       1909           Third Party      feature parity in SA360. This goes to the core of the
                                       Plaintiff States’ case and merely reflects estimates,
                                       not actual losses.
                                       Unredact. This information reflects Microsoft’s
                                       estimate of its lost revenue as a result of lack of
       1915           Third Party      feature parity in SA360. This goes to the core of the
                                       Plaintiff States’ case and merely reflects estimates,
                                       not actual losses.
                                       Unredact. Although this information relates to a
                                       third party, disclosure would result in no discernable
       1920           Third Party
                                       competitive disadvantage and the information is
                                       central.

IV.     Google’s Responsive Proposed Conclusions of Law

                      Requesting
     Paragraph                                                 Ruling
                      Redaction
                                       Unredact. This information has been disclosed
        56            Third Party      elsewhere and is presented at a sufficiently high level
                                       to mitigate the privacy and property interests.

V.      Google’s Responsive Proposed Findings of Fact

                      Requesting
     Paragraph                                                 Ruling
                      Redaction
                                       Unredact. This figure is crucial to the Plaintiffs’
                                       market foreclosure analysis and is thus central to the
        25            Third Party
                                       case. It is unlikely to result in competitive
                                       disadvantage to a third party due to disclosure.
                                       Keep Redacted. The redacted number combines
                                       Google and Microsoft data in such a way that
                   Google and Third
        40                             disclosure would result in exposing each party’s
                        Party
                                       figure to the other, which could cause competitive
                                       harm.
                                       Keep Redacted. This information contains internal
        41           Third Parties     third-party financial information that, if disclosed,
                                       could result in competitive harm to this third party.



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                           Keep Redacted. This information contains internal
58          Third Party    third-party data that, if disclosed, could result in
                           competitive harm to this third party.
                           Unredact. This figure is crucial to the Plaintiffs’
                           market foreclosure analysis and is thus central to the
65          Third Party
                           case. It is unlikely to result in competitive
                           disadvantage to a third party if disclosed.
                           Keep Redacted. There is no dispute as to this
87            Google
                           redaction, and the court agrees that it is justified.
                           Unredact. This information has been disclosed
90          Third Party    elsewhere and is presented at a sufficiently high level
                           to mitigate the privacy and property interests.
                           Unredact. Although this information relates to a
                           third party, disclosure would further the public’s
98          Third Party
                           understanding of this case, as this information is
                           central to the Plaintiffs’ theory.
                           Unredact. These figures are from a Mozilla
                           experiment that Google relies heavily on in its filings.
104         Third Party    The experiment bears on a foundational issue in this
                           case, which is how users behaved when the default
                           search engine was switched from Google to rivals.
                           Unredact. Although this information relates to a third
                           party, disclosure would result in no discernable
109         Third Party
                           competitive disadvantage and the information is
                           central.
                           Keep Redacted. This is a current revenue share
                           figure that has not otherwise been disclosed. It could
117           Google       cause harm to Google or Google’s partners by
                           providing a nonpublic benchmark for future
                           negotiations.
                           Unredact. This information has been disclosed
131         Third Party    elsewhere and is presented at a sufficiently high level
                           to mitigate the privacy and property interests.
                           Keep Redacted. This prediction of the actions a
                           search competitor could take is more clearly harmful
132           Google
                           than other projections or predictions because it
                           provides a roadmap to Google’s competitors.
                           Unredact. These figures are from a Mozilla
                           experiment that Google relies heavily on in its filings.
134         Third Party    The experiment bears on a foundational issue in this
                           case, which is how users behaved when the default
                           search engine was switched from Google to Yahoo.
                           Unredact. This information has been disclosed
156         Third Party    elsewhere and is presented at a sufficiently high level
                           to mitigate the privacy and property interests.



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                            Unredact. Although this information relates to a
158         Third Party     third party, disclosure would result in no discernable
                            competitive disadvantage.
                            Unredact. Although this information relates to a
                            third party, disclosure would further the public’s
164         Third Party
                            understanding of this case, as this information is
                            central to the Plaintiffs’ theory.
                            Unredact. A third party’s perspective of the relative
                            quality of two search engines is not so sensitive as to
169         Third Party
                            warrant these redactions, especially when such
                            perspectives were shared in open court at trial.
                            Unredact. These contractual provisions are at the
171         Third Party     heart of this case, and the actual provisions have been
                            released.
                            Unredact. This information is central to Google’s
173         Third Party     defense and contains no language that would reveal
                            anything about a third party’s strategy.
                            Keep Redacted. This information implicates the
                            product interests of a third party and thus has
174         Third Party
                            significant privacy interests that outweigh disclosure
                            here.
                            Unredact. This information was disclosed by a third
                            party to the Department of Justice as part of its
212         Third Party
                            investigation without, to the court’s knowledge, any
                            assurance of confidentiality.
                            Keep Redacted. These are current revenue share
                            figures that have not otherwise been disclosed. They
217           Google        could cause harm to Google or Google’s partners by
                            providing a nonpublic benchmark for future
                            negotiations.
                            Keep Redacted. These are bespoke provisions of
                            third-party contracts with marginal relevance. They
228         Third Parties
                            should be sealed to protect those third parties’
                            information.
                            Unredact. These are key terms of the Mobile
                            Services Incentive Agreements, which are core to
230           Google        Google’s defense regarding the procompetitive
                            benefits of its contracts. The competitive
                            disadvantage is not clear.
                            Keep Redacted. This nonpublic information details
                            the costs of Google’s investments and expenses.
248           Google        Revealing these precise amounts would reveal
                            information that competitors could use to their
                            advantage and Google’s disadvantage.




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                             Unredact. These contractual provisions are at the
279           Google         heart of this case, and the actual provisions have been
                             released.
                             Unredact. This data about the Google Search Widget
288           Google         is relevant to Google’s defense regarding the
                             procompetitive benefits of its contracts.
                             Keep Redacted. Google’s internal revenue
                             composition, including revenue derived from
300           Google         particular search access points, may be used by
                             competitors to gain a nonpublic advantage regarding
                             their prioritization of particular search access points
                             Unredact. Google’s market share numbers are
301           Google         relevant to the Plaintiffs’ case and the competitive
                             disadvantage of revealing these figures is not clear.
                             Keep Redacted. These are bespoke provisions of
                             third-party contracts with marginal relevance. They
307         Third Parties
                             should be sealed to protect those third parties’
                             information.
                             Keep Redacted. Google’s internal ads profit
                             composition, including revenue derived from native
317           Google         ads tools vs. SEM tools, may be used by competitors
                             to gain a nonpublic advantage regarding their
                             prioritization of ad delivery.
                             Unredact third-party-only objections. While this
                             information compares Google’s ad delivery with a
          Google and Third
322                          third party’s, it is central to the Plaintiff States’
               Party
                             SA360 claims, and so only the undisputed redactions
                             (which the court agrees with) should be maintained.
                             Keep Redacted. These third-part advertiser’s names
327           Google         do not add relevance to this paragraph, and would
                             reveal third-party sensitive information.
                             Unredact. These are aggregated figures that do not
                             reveal any third-party sensitive information.
340         Third Party      Although the figures pertain to SA360, Google has
                             not requested these redactions. They are thus unlikely
                             to cause competitive disadvantage to a third party.
                             Keep Redacted. This is third-party sensitive
                             information regarding existing partnerships with
347         Third Parties
                             other third parties, which, if disclosed, could harm
                             these nonparties’ negotiating power.
                             Keep Redacted. This is third-party sensitive
                             information regarding existing partnerships with
348         Third Party
                             other third parties, which, if disclosed, could harm
                             these nonparties’ negotiating power.




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VI.    Plaintiffs’ Post-Trial Submissions & Other Disputes in Google’s Filings

  Dispute Category             Citations                                 Ruling
                                                   Unredact. The disclosure of agreement
 Term lengths of
                         PPFOF ¶¶ 239, 255,        termination dates, although nonpublic, would
 Google’s Android
                         274, 281, 286, and 300    not result in sufficient competitive harm if
 agreements
                                                   disclosed.
                         PPFOF ¶¶ 262 n.10,
                         357, 359, 861
 The definition of
                                                   Unredact. These contractual provisions are at
 “Alternative Search GPFOF ¶¶ 1638, 1640,
                                                   the heart of this case, and the actual
 Service” in Google’s 1643, 1648, 1656,
                                                   provisions have been released.
 Android agreements 1658, 1659

                         GRPFOF ¶ 279
 Clauses guiding the
 interpretation of
 “Alternative Search                               Unredact. These contractual provisions are at
 Service” and/or         PPFOF ¶ 262 n.10, 263     the heart of this case, and the actual
 “Search Access                                    provisions have been released.
 Point” in Google’s
 Android agreements
 Limitations to S-       GPFOF ¶ 1644              Unredact. These contractual provisions are at
 Finder’s                                          the heart of this case, and the actual
 functionality           PRPFOF ¶ 2458             provisions have been released.
 Default browser and
                         PPFOF ¶¶ 277, 784
 placement                                         Unredact. These contractual provisions are at
 requirements in                                   the heart of this case, and the actual
                         GPFOF ¶¶ 1493, 1494,
 Google’s Android                                  provisions have been released.
                         1499, 1505
 agreements
 The Samsung RSA
                                                   Unredact. These are key terms that are
 has no letter-upgrade
                         PPFOF ¶ 266               central to Google’s defense regarding the
 and security-update
                                                   procompetitive benefits of its contracts.
 requirements
 Where Google
 allows Mozilla to                                 Unredact. These contractual provisions are at
 send search queries                               the heart of this case, and the actual
                         PPFOF ¶ 348
 entered into                                      provisions have been released. The third party
 Mozilla’s navigation                              here does not oppose disclosure.
 bar
                                                   Unredact. This information is public, Apple
 The ISA applies to
                         PPFOF ¶ 220               does not oppose disclosure, and the court can
 the United States
                                                   discern no competitive harm from disclosure.




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                                                  Unredact everything except the redactions
                                                  contained in PPFOF ¶¶ 187 & 217 and
                                                  PRPFOF ¶ 2082. The disclosure of
                      PPTB at p. 38               agreement termination dates, although
                                                  nonpublic, would not result in sufficient
                      PPFOF ¶¶ 187, 216,          competitive harm if disclosed.
Term-length and
                      217, 219, 220, 221, 222
issues relating to
                                           The redactions in PPFOF ¶ 187 and PRPFOF
termination and
                      GPFOF ¶¶ 1265, 1272, ¶ 2082, however, pertain to Google’s
revision of the ISA
                      1273                 confidential product information, the
                                           disclosure of which could result in
                      PRPFOF ¶¶ 2082, 2328 competitive disadvantage to Google. And the
                                           redactions in PPFOF ¶ 217 concern
                                           international markets not at issue in this
                                           litigation.
                      PPTB at p.47 n.13
                                           Keep Redacted. This is nonpublic
                                           information about a bespoke contract term
[Withheld as          PPFOF ¶¶ 225, 226
                                           that, if revealed, could be leveraged by
Confidential]
                                           Google’s other partners in contract
                      PRPFOF ¶¶ 2171,
                                           negotiations.
                      2396, 2477
Google bars Apple
from providing rival
search apps and
                                                  Unredact. These contractual provisions are at
browsers with any
                      PRPFOF ¶ 2373               the heart of this case, and the actual
promotion that is not
                                                  provisions have been released.
also provided to
Google for GSA and
Chrome
                      PPTB at pp. 15, 16 n.3,
Costs, Revenues,      27, 27 n.5                  Keep Redacted. This nonpublic information
Margins, and                                      details the costs of Google’s investments and
Revenue               PPFOF ¶¶ 85, 561,           expenses. Revealing these precise amounts
Composition for       582, 590, 593, 595,         would reveal information that competitors
Search and Search     598, 599, 600               could use to their advantage and Google’s
Ads                                               disadvantage.
                      PRPFOF ¶ 2225
                                                  Keep Redacted. This nonpublic information
                      PPTB at pp. 1, 51-52
                                                  details the costs of Google’s investments and
R&D Spending for
                                                  expenses. Revealing these precise amounts
Search and Search     PPFOF ¶ 597
                                                  would reveal information that competitors
Ads
                                                  could use to their advantage and Google’s
                      GPFOF ¶ 222
                                                  disadvantage.
                      PPFOF ¶¶ 12, 935            Unredact PPFOF ¶¶ 12, 935. The revenue
                                                  share percentage, actual revenue paid, and
                      PRPFOF ¶ 2372               Apple’s operating profits are all public


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                                                information at this point. This is just a
                                                synthesis of that public information,
                                                diminishing the harm from disclosure. This
                                                information is highly relevant to the
                                                Plaintiffs’ case and thus will aid the public’s
                                                understanding.

                                                Keep PRPFOF ¶ 2372 Redacted. This
                                                figure reflects the revenue coming through a
                                                particular search access point. These figures
                                                may be used by competitors to gain a
                                                nonpublic advantage regarding their
Google’s revenue                                prioritization of particular search access
share payments to                               points.
Apple                                           Unredact PPTB at 4, 48, PPFOF ¶ 935,
                                                PRPFOF ¶ 2317. The revenue share
                                                percentage, actual revenue paid, and Apple’s
                                                operating profits are all public information at
                                                this point. This is just a synthesis of that
                                                public information, diminishing the harm
                     PPTB at pp. 4, 47
                                                from disclosure. This information is highly
                                                relevant to the Plaintiffs’ case and thus will
                     PPFOF ¶ 935
                                                aid the public’s understanding.
                     PRPFOF ¶¶ 2317, 2372
                                                Keep PRPFOF ¶ 2372 Redacted. This
                                                figure reflects the revenue coming through a
                                                particular search access point. Revealing
                                                these precise amounts would reveal
                                                information that competitors could use to
                                                their advantage and Google’s disadvantage..
                                                Unredact. Google’s market share numbers
                     PPFOF ¶ 1315
Google’s Pixel OEM                              are relevant to the Plaintiffs’ case and the
shipment share                                  competitive disadvantage of revealing these
                     GRPFOF ¶ 301
                                                figures is not clear.
                                                Unredact. As to PPFOF ¶ 991, the substance
                                                of the redacted portion is already publicly
User data Google
                                                discussed elsewhere in this section. As to
tracks and how       PPFOF ¶¶ 991, 1003,
                                                PPFOF ¶¶ 1003 and 1034, the discussion here
Google generally     1034
                                                is at a high level and would be helpful to the
uses it
                                                public. It is also consistent with public trial
                                                testimony.
                                                Redact only the length of time listed in
Generic launch                                  PPFOF ¶ 697, unredact rest. This
                     PPFOF ¶¶ 655, 675,
experiment                                      information is at the heart of the Plaintiffs’
                     697
information                                     search ads claims and relates to price
                                                manipulation of ad auctions. The length of the


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                                                   experiment is sensitive internal data that
                                                   could be used to Google’s competitive
                                                   disadvantage by its rivals.
                                                   Unredact. These query figures are central to
                        PRPFOF ¶ 2374
General query                                      the public understanding of the ISA and
composition                                        should not be redacted. Their commercial or
                        GRPFOF ¶ 288
                                                   competitive harm is not clearly discernable.
                                                   Keep Redacted. Google’s internal revenue
                                                   composition, including revenue derived from
                        GPFOF ¶¶ 1480, 1567        particular search access points, may be used
General revenue
                                                   by competitors to gain a nonpublic advantage
composition
                        GRPFOF ¶ 248               regarding their prioritization of particular
                                                   search access points. This paragraph also
                                                   contains a current revenue share percentage.
                                                   Keep Redacted. The redacted price
                                                   comparison combines Google and Microsoft
General price                                      data in such a way that disclosure would
                        GRPFOF ¶ 40
comparison                                         result in exposing each party’s sensitive
                                                   information to the other, which could cause
                                                   competitive harm.
                                                   Unredact, but keep the undisputed
The relative value of   PPTB at p. 44              redactions. This information is central to the
the mobile and                                     case and would not cause clear competitive
desktop defaults        PPFOF ¶ 919                harm. The parties do not dispute certain
                                                   redactions, with which the court agrees.
                        PPTB at p. 70
                                                   Unredact red boxes, but keep all other
Public or publicly
                                                   redactions. These figures are not all publicly
accessible              GPFOF ¶ 1573
                                                   available information and shed light on
information
                                                   Google’s internal revenue composition.
                        GRPFOF ¶ 248
                                                   Unredact. Although this information relates
                        PPTB at pp. 24-25          to a third party, disclosure would result in no
General industry
                                                   discernable competitive disadvantage and
information
                        PPFOF ¶ 538                would shed light on the alleged barriers to
                                                   entry in a proposed market.
                                                   Unredact PPFOF ¶¶ 1096, 1114. These
                                                   provisions are helpful to understanding
                        PPTB at p. 33              Apple’s potential as a competitor to Google,
                                                   and do not reveal sensitive third-party product
[Withheld as            PPFOF ¶¶ 763, 1095,        information.
Confidential]           1096, 1097, 1114
                                                   Keep PFFOF ¶¶ 1095, 1097 Redacted. For
                        PRPFOF ¶ 2336              these provisions, the privacy and product
                                                   interests outweigh the relevance and public
                                                   interest in access.



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                                                 Partially Redact PPTB at 33 and PRPFOF
                                                 ¶ 2336. Maintain the redactions for sentences
                                                 that cite to PPFOF ¶¶ 1095 and 1097.
                                                 Unredact portions relating to “disrupt[ing]
                                                 Google search.” The justifications are in line
                                                 with the above.

                                                 Partially Redact PPFOF ¶ 763. Unredact
                                                 everything except the parenthetical at the end
                                                 of the citation to UPX494, which should stay
                                                 redacted. The justifications are in line with
                                                 the above.
High-level and non-
                                                 Unredact, but keep the undisputed
specific information
                       PPTB pp. 36, 70           redactions. This information is central to the
regarding the
                                                 case and would not cause clear competitive
number of Safari
                       PPFOF ¶ 730               harm. The parties do not dispute certain
queries and default
                                                 redactions, with which the court agrees.
traffic rates
                                                 Unredact, but keep the undisputed
                                                 redactions. This information is central to the
                                                 case, is merely Apple’s impression of
Apple’s estimate of
                                                 Google’s market share, and thus does not
Google’s market        PPFOF ¶ 588
                                                 reveal actual Google data, and would not
share
                                                 cause clear competitive harm. The parties do
                                                 not dispute certain redactions, with which the
                                                 court agrees.
                       PPFOF ¶¶ 774, 769,        Unredact. The alleged limitations on third
Limitations on
                       1116                      parties due to these contractual provisions are
Apple due to
                                                 at the heart of this case, and the actual
Google’s contracts
                       PRPFOF ¶ 2349             provisions have been released.
                                                 Unredact. This information is central to the
Rejected requests or
                                                 case and would not cause clear competitive
suggestions from       PPFOF ¶¶ 874, 1105
                                                 harm, as these requests or suggestions were
Google
                                                 already the subject of negotiation.
Possible scenarios                               Unredact. This information is central to the
absent Google’s        PPFOF ¶ 1102              case and the third party whose information is
contracts                                        implicated does not request redaction.
                                                 Unredact PPFOF ¶ 1100. This information
Generic and high-                                is central to the case and would not cause
level mentions of                                clear competitive harm.
varying term lengths
                       PPFOF ¶¶ 397, 1100
and revenue share                                Keep PPFOF ¶ 397 Redacted. The
payment                                          termination dates that relate to jurisdictions
requirements                                     outside the proposed market definition are
                                                 irrelevant and may remain redacted.




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                                                     Unredact. Google’s own projections of
                                                     potential losses are highly relevant to
                                                     understand the foreclosure analysis, as well as
                         PPTB at p. 45, 66
 Stale information                                   other parts of the Plaintiffs’ case. These
 from prior                                          internal projections would not be of great use
                         PPFOF ¶¶ 733, 941,
 negotiations                                        to competitors. The “Alice in Wonderland”
                         1266
                                                     hypothetical is also highly relevant to
                                                     understanding Microsoft’s potential as a
                                                     competitor.
                                                     Unredact PPFOF ¶¶ 1267 and 1272.

                                                     Partially redact PPFOF ¶ 1265, unredacting
                                                     the last sentence only. The other portions
 Dated and non-                                      concern internal third-party projections and
 specific information                                are less relevant because they bear on third
                         PPFOF ¶¶ 1265, 1267,
 regarding Apple’s                                   parties’ intent with respect to their own
                         1268, 1272
 decision to stay with                               conduct, as opposed to Google’s intent or
 Google in 2016                                      actions.

                                                     Partially redact PPFOF ¶ 1268, unredacting
                                                     everything except the numerical amount (e.g.,
                                                     $[amount] billion).




Dated: April 24, 2024                                        Amit P. Mehta
                                                      United States District Court Judge




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